      6:18-cv-00261-RAW Document 62 Filed in ED/OK on 01/22/19 Page 1 of 7



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF OKLAHOMA

(1) JAMES LEGROS, SR. and                             )
(2) JACQUELINE MILIOTO, as next friend to             )
    D.M., a minor, as next of kin of                  )
    JAMES LEGROS, JR., deceased,                      )
                                                      )
                              Plaintiffs,             )
                                                      )
vs.                                                   )      Case No. 18-CV-261-RAW
                                                      )
(1) BOARD OF COUNTY COMMISSIONERS                     )
    FOR CHOCTAW COUNTY; et al.,                       )
                                                      )
                              Defendants.             )

                          DEFENDANTS’ REPLY IN SUPPORT
                     OF THEIR MOTION FOR PROTECTIVE ORDER

       Defendants Board of County Commissioners for Choctaw County, Terry Park, Jeffery

Epley, Stewart Stanfield, Zach Dillishaw, Schonna Smith, Debora Clay and Edna Casey,

(“Defendants”) through their respective counsel, respectfully submit this Reply in support of

their Motion for Protective Order. [Dkt. 58]. Defendants respectfully request this Court enter the

protective order which was submitted contemporaneously with their Motion for Protective Order,

[Dkt. 58-1], for the reasons stated herein and in their Motion.

       First, the issue at hand is whether the Choctaw County Jail (“Jail”) and/or Sheriff’s

Office’s policies and procedures, the Jail’s video and/or audio recordings, and Jail photographs

should be protected within the confines of this lawsuit. Defense counsel has had multiple

conversations with Plaintiffs’ counsel attempting to resolve this issue. [Dkt. 58, ¶¶ 7-8, 11, 16,

19-20]. After multiple parties were added to this case and it was removed to federal court,

Defense counsel included the following language in its proposed Protective Order as another

attempt to resolve this issue without court intervention: “Any materials received by Plaintiffs

from the Choctaw County Sheriff’s Office that are not otherwise an open record under the
     6:18-cv-00261-RAW Document 62 Filed in ED/OK on 01/22/19 Page 2 of 7



Oklahoma Open Records Act.” [Dkt. 58-1, p. 1]. This addition was not an attempt to try and

enforce the Oklahoma Open Records Act, but to use this Act as a benchmark.

       Now, Plaintiff Milioto (“Plaintiff” or “Plaintiff Milioto”) argues in her Response that

Defendants did not meet their “burden” of showing the recordings and documents at issue are not

subject to public disclosure under the Oklahoma Open Records Act. [Dkt. 60, pp. 5-7]. Fed. R.

Civ. P. 26(c) does NOT require moving parties show that documents they wish to produce

pursuant to a protective order are not otherwise open records under state law. See generally Fed.

R. Civ. P. 26(c). Instead, according to Fed. R. Civ. P. 26(c), parties requesting a protective order

“must include a certification that the movant has in good faith conferred or attempted to confer

with other affected parties in an effort to resolve the dispute without court action.” Fed. R. Civ.

P. 26(c)(1). Defendants included that certification in their Motion. [Dkt. 58, p. 5 at ¶ 19].

Additionally, if parties show good cause, then a court may issue a protective order “to protect a

party or person from annoyance, embarrassment, oppression, or undue burden or expense.” Fed.

R. Civ. P. 26(c)(1). As discussed in further detail below and in their Motion, Defendants

demonstrated good cause for a protective order. In sum, Defendants met their “burden,” as

prescribed by Fed. R. Civ. P. 26(c)(1), in their Motion for Protective Order.

       Regardless, the recordings and documents at issue are NOT open records under the

Oklahoma Open Record Act.1 Pursuant to the Oklahoma Open Records Act, “[a]ll records of

public bodies and public officials shall be open to any person.” Okla. Stat. tit. 51, § 24A.5. The

Choctaw County Sheriff’s Office (which operates and maintains the Choctaw County Jail) is a

law enforcement agency, which the Act defines as entities “charged with enforcing state or local

criminal laws and initiating criminal prosecutions.” Okla. Stat. tit. 51, § 24A.3. Section 24.A.8

1
  Interestingly, while Plaintiff makes much of Defendants’ alleged failure to identify an
applicable exception to the Oklahoma Open Records Act, Plaintiff does not actually argue that
the at-issue documents and recordings are open records. [Dkt. 60, pp. 5-7].
                                               2
     6:18-cv-00261-RAW Document 62 Filed in ED/OK on 01/22/19 Page 3 of 7



of the Oklahoma Open Records Act details what records law enforcement agencies “shall” make

available to the public. See generally Okla. Stat. tit. 51, § 24A.8. While items such as jail

registers, an initial offense report, and radio logs are listed as open records in Section 24A.8,

notably missing are photographs or policies and procedures. See generally Okla. Stat. tit. 51, §

24A.8. Clearly, therefore, photographs made or taken within the Choctaw County Jail, Choctaw

County Sheriff’s Office policies and procedures, and/or Choctaw County Jail’s policies and

procedures are NOT open records pursuant to the Oklahoma Open Records Act.

       Additionally, the only law enforcement agency videos considered open records involve

video recordings from body cameras and vehicle dashboard cameras:

              (9) Audio and video recordings from recording equipment attached
              to law enforcement vehicles or associated audio recordings from
              recording equipment on the person of a law enforcement officer . .
              . [and]
                                             ...

              (10)(a) Audio and video recordings from recording equipment
              attached to the person of a law enforcement officer that depict [any
              use of force, pursuits, traffic stops, arrests, etc.].”

Okla. Stat. tit. 51, § 24A.8(A)(9)-(10). Here, the video and audio recordings Defendants desire

the protective order to encompass are from surveillance videos from cameras affixed to a

building (the Choctaw County Jail), NOT dashboard cameras or body cameras. Therefore, these

videos are not open records under Oklahoma’s Open Records Act.

       Second, Defendants have shown good cause that the Jail and/or Sheriff’s Office’s

policies and procedures, the Jail’s video and/or audio recordings, and Jail photographs already

produced to Plaintiff should be subject to Defendants’ proposed protective order. As Defendants

explained in their Motion, the at-issue documents and recordings pose substantial security risks

to Choctaw County employees, citizens, and inmates. Plaintiff Milioto argues this is

“unfounded” because other Oklahoma counties and Choctaw County have allowed the media to
                                               3
     6:18-cv-00261-RAW Document 62 Filed in ED/OK on 01/22/19 Page 4 of 7



broadcast images and/or footage from their jails. [Dkt. 60, 10-11]. These various examples are

not, however, “damaging” to Defendants’ position as Ms. Milioto contends and do not refute

Defendants’ assertion that the public disclosure of the at-issue documents and/or recordings pose

a security risk. For instance, to the extent Plaintiff’s examples show county jail employees and

inmates, Plaintiff does not address whether those individuals were asked to and/or did sign

waivers permitting their faces/voices be recorded and broadcast. Additionally, Plaintiff’s

response does not consider other, very serious safety concerns posed by releasing these records

publically; a not-exhaustive list includes the possibility of malefactors determining a jail’s

layout, when and how inmates are transferred, where medications are stored, the location/identity

of inmates in protective custody, and guard rotations and shifts.

        More importantly, Plaintiff Milioto’s arguments actually illustrate her apparent desire to

try this case in the court of public opinion. This is evidenced by her multiple assertions that both

she and the public have an interest in transparent government and her reliance on news media

footage and photographs. [Dkt. 60, pp. 5, 7-12]. Plaintiff’s apparent desire to try this case in the

court of public opinion should not be allowed and would be prevented by a protective order. For

this reason alone, Defendants have demonstrated good cause sufficient to permit issuance of a

protective order. See Fed. R. Civ. P. 26(c)(1).

        In sum, Defendants’ burden in its Motion for Protective Order was not to demonstrate the

at-issue records fell within an exception to Oklahoma’s Open Record Act, as Plaintiff alleges in

her Response. In fact, Defendants complied with the applicable rule governing protective orders.

See Fed. R. Civ. P. 26(c)(1). Plaintiff’s only other arguments center on the public’s alleged

interest in the at-issue records. However, it is Plaintiff, not the public, that is a party to this case,

and Plaintiff should not be allowed to try her case in the media or in the court of public opinion.

For this reason, and the additional reasons set forth in their Motion for Protective Order,
                                                   4
     6:18-cv-00261-RAW Document 62 Filed in ED/OK on 01/22/19 Page 5 of 7



Defendants have demonstrated good cause showing that the Jail and/or Sheriff’s Office’s policies

and procedures, the Jail’s video and/or audio recordings, and Jail photographs already produced

to Plaintiff should be subject to Defendants’ proposed protective order.

                                        CONCLUSION

       WHEREFORE, for the foregoing reasons, Defendants Board of County Commissioners

for Choctaw County, Terry Park, Jeffery Epley, Stewart Stanfield, Zach Dillishaw, Schonna

Smith, Debora Clay and Edna Casey respectfully request the Court enter the Protective Order

submitted contemporaneously with their Motion for Protective Order.

                                                     Respectfully submitted,


                                                     s/Taylor M. Tyler
                                                     Stephen L. Geries, OBA No. 19101
                                                     Taylor M. Tyler, OBA No. 33291
                                                     COLLINS ZORN & WAGNER, P.C.
                                                     429 N.E. 50th Street, Second Floor
                                                     Oklahoma City, OK 73105
                                                     Telephone:    (405) 524-2070
                                                     Facsimile:    (405) 524-2078
                                                     Email:        slg@czwlaw.com
                                                                   tmt@czwlaw.com

                                                     ATTORNEYS FOR DEFENDANTS BOARD
                                                     OF COUNTY COMMISSIONERS FOR
                                                     CHOCTAW COUNTY, ZACH DILLISHAW,
                                                     STEWART STANFIELD, JEFFREY EPLEY
                                                     AND TERRY PARK, IN THEIR
                                                     INDIVIDUAL CAPACITIES




                                                5
     6:18-cv-00261-RAW Document 62 Filed in ED/OK on 01/22/19 Page 6 of 7



                                                  s/Jessica L. Dark
                                                  (signed by filing attorney with permission)
                                                  Robert S. Lafferrandre, OBA No. 11897
                                                  Randall J. Wood, OBA No. 10531
                                                  Jessica L. Dark, OBA No. 31236
                                                  PIERCE COUCH HENDRICKSON
                                                    BAYSINGER & GREEN, LLP
                                                  1109 North Francis Avenue
                                                  Oklahoma City, OK 73106
                                                  Telephone: (405) 235-1611
                                                  Facsimile:      (405) 235-2904
                                                  Email: jdark@piercecouch.com

                                                  ATTORNEYS FOR DEFENDANTS
                                                  SCHONNA SMITH AND DEBORA CLAY


                                                  s/James L. Gibbs
                                                  (signed by filing attorney with permission)
                                                  James L. Gibbs, II, OBA No. 15689
                                                  GOOLSBY, PROCTOR, HEEFNER
                                                    & GIBBS, P.C.
                                                  701 N. Broadway Avenue, Suite 400
                                                  Oklahoma City, OK 73102-6006
                                                  Telephone:      (405) 524-2400
                                                  Facsimile:      (405) 525-6004
                                                  Email:          jgibbs@gphglaw.com

                                                  ATTORNEY FOR DEFENDANT
                                                  EDNA CASEY

                              CERTIFICATE OF SERVICE

        I hereby certify that on January 22, 2019, I served the attached document by certified
mail, return receipt requested, to the following:

       Chris Hammons
       Jason M. Hicks
       Laird, Hammons, Laird, PLLC
       1332 S.W. 89th Street
       Oklahoma City, OK 73159
       Attorneys for Plaintiffs




                                              6
6:18-cv-00261-RAW Document 62 Filed in ED/OK on 01/22/19 Page 7 of 7



 Robert S. Lafferrandre
 Randall J. Wood
 Jessica L. Dark
 Pierce Couch Hendrickson
  Baysinger & Green, L.L.P.
 1109 North Francis Avenue
 Oklahoma City, OK 73106
 Attorneys for Defendants
 Schonna Smith and Debora Clay

 James L. Gibbs
 Goolsby, Proctor, Heefner & Gibbs, P.C.
 701 N. Broadway Avenue, Suite 400
 Oklahoma City, OK 73102-6006
 Attorney for Defendant Edna Casey


                                           s/ Taylor M. Tyler
                                           Taylor M. Tyler




                                       7
